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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

IN RE:                                       )       In Proceedings Under Chapter 11
                                             )
DOUBLE HELIX CORPORATION,                    )       Case No.: 25-40745
d/b/a KDHX COMMUNITY MEDIA,                  )
                                             )
               Debtor.                       )

              EMERGENCY MOTION FOR INTERIM AND FINAL ORDERS
                AUTHORIZING DEBTOR TO OBTAIN POST-PETITION
                 FINANCING PURSUANT TO 11 U.S.C. §§ 364(c) and (d)

       COMES NOW Debtor Double Helix Corporation, d/b/a KDHX Community Media

(“Debtor”), by and through its undersigned counsel, and files its Emergency Motion for Interim

and Final Orders Authorizing Debtor to Obtain Post-petition Financing Pursuant to 11 U.S.C. §§

364(c) and (d) (the “Motion”). In support of the Motion, Debtor respectfully states as follows.

                            BACKGROUND AND JURISDICTION

      1.       On March 10, 2025 (the “Petition Date”), Debtor filed its voluntary petition for

relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”). Debtor continues to

operate its business as debtor-in-possession pursuant to 11 U.S.C. §§ 1107 and 1108. No trustee or

examiner has been appointed in this case.

      2.       Information concerning the Debtor’s business, its capital and debt structure, and the

events leading up to the filing of this Chapter 11 Case is set forth in the Declaration of Kelly K.

Wells (the “Wells Declaration”), filed contemporaneously herewith.

      3.       The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C.

§§ 1408 and 1409. Debtor consents to the entry of a final order of this Court in connection with

the Motion.

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                                     RELIEF REQUESTED

       4.      By this Motion, Debtor seeks the entry of an interim order substantially in the form

of the “Interim Order” delivered to the Court and a final order (the “Final Order” and both such

orders, the “DIP Orders”), pursuant to sections 105, 361, 362, 363, 364, 503, 506(c) and 507 of

title 11 of the United States Code (the “Bankruptcy Code”), rules 2002, 4001, 6003, 6004 and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local

Rules of Bankruptcy Procedure for the Eastern District of Missouri (the “Local Bankruptcy

Rules”).

       5.      Debtor seeks authorization to obtain post-petition financing (the “DIP Loan”) from

K-LOVE, Inc., a Tennessee nonprofit corporation (the “DIP Lender”) in the aggregate amount of

up to $500,000.00 pursuant to sections 364(c) and (d) of the Bankruptcy Code.

       6.      As stated in the Wells Declaration, the DIP Loan is necessary to provide the

necessary liquidity to fund Debtor’s operations during the pendency of the Chapter 11 Case and to

ensure Debtor’s ability to reorganize, including (a) the payment of administrative expenses

associated with the Chapter 11 Case, including but not limited to professional fees (the

“Administrative Expenses”), and (b) the payment of operating expenses and ordinary course of

business payments associated with Debtor’s business operations, including but not limited to

ongoing post-petition employee payroll and pre-petition employee payroll not in excess of the

statutory ceiling (the “Operating Expenses” and collectively with the Administrative Expenses,

the “DIP Expenses”). Satisfaction of these DIP Expenses is necessary to preserve and maintain

the value of Debtor’s estate pending a potential future sale. In particular,

       7.      The key terms of the DIP Loan are as follows:

            a. Loan Amount: In the aggregate amount of up to $500,000.00, funded in two
               tranches:

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                i. $150,000.00 upon entry of an interim order approving the DIP Loan; and
               ii. $350,000.00 upon entry of a final order approving the DIP Loan.
            b. Effective Date: The earliest of:
                i. Execution of the DIP Loan Documentation by Debtor and DIP Lender; or
               ii. Release of the net proceeds to Debtor after entry of the Interim DIP Order.
            c. Maturity Date: The earliest of:
                i. The closing of the sale of the Debtor’s assets; or
               ii. The occurrence and declaration of an event of default.
            d. Interest Rate: 12% per annum, payable on the Maturity Date, with interest waived
               if the DIP Lender is the successful purchaser of the contemplated sale.
            e. Facility Fee: 3% of the principal amount, fully earned on the Effective Date and
               payable on the Maturity Date, waived if the DIP Lender is the successful purchaser
               of the contemplated sale.
            f. Priority and Collateral: The DIP Loan will have super-priority status and will be
               secured by a first-priority lien on all of the Debtor’s assets, subject only to a carve-
               out for certain administrative expenses, and the valid and perfected mortgage in
               existence as of the Petition Date.
            g. Administrative Carve-Out: The DIP Lender’s liens and administrative claims
               shall be subject to a carve out (the “Carve-Out”) of prior payment of attorneys’
               fees for Debtor’s counsel and United States Trustee’s Fee in an aggregate amount
               not to exceed $50,000.00.
            h. Use of proceeds: The proceeds of the DIP Loan shall be used for general corporate
               expenditures, funding operations, and facilitating the sale process. No proceeds
               shall be used for any litigation against the DIP Lender.

Documentation of the terms of the DIP Loan are set forth in further detail in the certain Debtor-in

Possession Financing Term Sheet dated March 10, 2025 (the “Term Sheet”), a true copy of which

Term Sheet is attached hereto as Exhibit 1 and incorporated herein by this reference. The Term

Sheet sets forth the material terms of the proposed post-petition financing. To the extent that any

provision of this Motion conflicts with or is ambiguous in relation to the Term Sheet, the terms of

the Term Sheet shall govern and control.

                   SECURED LENDER AND ADEQUATE PROTECTION

       8.      Upon information and belief, there are two existing, valid, and perfected liens (the

“Existing Liens”) upon Debtor’s real property located at 3524 Washington Avenue, St. Louis,


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Missouri 63103 (the “Real Estate”), held by The Kenneth Kranzberg Revocable Trust (the

“Kranzberg Trust”) and 3526 Washington LLC, a Missouri limited liability company (“3526

Washington” and together with the Kranzberg Trust, the “Existing Secured Lenders”). The

Existing Secured Lenders are the only secured lenders with a lien on Debtor’s assets as of the

Petition Date, and the Existing Liens are the only such liens.

          9.    The DIP Loan, as authorized under 11 U.S.C. § 364(d), shall prime all assets of the

Debtor except for the Carve-Out and the Real Estate securing Existing Secured Lenders’ liens. The

Existing Liens held by the Existing Lenders shall remain senior to the DIP Loan and will receive

adequate protection to ensure that their interests are not diminished as a result of the DIP Loan.

The form and amount of adequate protection shall be determined by agreement between the parties

or as ordered by the Court.

                                      BASIS FOR RELIEF

          10.   Section 364 of the Bankruptcy Code permits a debtor, after notice and hearing, to

obtain credit secured by a lien on property of the estate, or with priority over administrative

expenses, when such credit is necessary to preserve the estate. 11 U.S.C. § 364(c).

          11.   Pursuant to Section 364(d)(1) the Court may also authorize a debtor to obtain credit

secured by a priming lien that is senior or equal to existing liens if the debtor is unable to obtain

alternative financing and interests of existing lien holders are adequately protected. 11 U.S.C. §

364(d).

          12.   In the Chapter 11 Case, the DIP Loan is the only available financing, and Debtor

has demonstrated that the sole existing lienholder’s interests held by the Existing Lenders are

adequately protected given the contemplated sale process.




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        13.     The Court’s approval of the DIP Loan will facilitate Debtor’s reorganization efforts

and preservation of its ongoing business enterprise. Absent the relief sought in this Motion, Debtor

faces the very real risk of substantial disruption in its operations and inability to preserve its assets.

        14.     Further, absent interim relief, Debtor’s efforts to retain its value as a going-concern

will be immediately and irreparably jeopardized.

        15.     Bankruptcy Rule 4001(c) permits a court to approve a debtor’s request for financing

during the 15-day period following the filing of a motion requesting authorization to obtain post-

petition financing “only to the extent necessary to avoid immediate and irreparable harm to the

estate pending a final hearing.” FED. R. BANKR. P. 4001 (c)(2). In examining requests for interim

relief under this rule, courts apply the same business judgment standard applicable to other

business decisions. See, e.g. In re AMR Corp., 485 B.R. 279, 287 (Bankr. S.D.N.Y 2013)

(reasonable business judgment exercised “so long as the financing agreement does not contain

terms that leverage the bankruptcy process and powers or its purpose is not so much to benefit the

estate as it is to benefit a party in interest.”) (citations omitted). Provided that a debtor’s business

judgment does not run afoul of the letter and spirit of the Bankruptcy Code, the courts will typically

grant a debtor considerable deference to exercise its sound business judgment in obtaining such

credit. See In re Farmland Indus., Inc., 294 B.R. 855, 881 (Bankr. W.D. Mo. 2003) (noting that

approval of post-petition financing requires, inter alia, an exercise of “sound and reasonable

business judgment.”)

        16.     Here, the facts and circumstances present in this Chapter 11 Case demonstrate that

Debtor has amply satisfied the necessary conditions under sections 364(c) and (d) of the

Bankruptcy Code to enter into the proposed DIP Loan financing. The DIP Loan is fair and

reasonable and is the best available financing option for the Debtor and an exercise of the Debtor’s


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sound and reasonable business judgment. The DIP Loan will allow the Debtor to continue

operations, preserve value for creditors, and facilitate the sale of assets. Moreover, Debtor submits

that no harm or prejudice will result to any party, including the Existing Lenders, from the DIP

Loan given its terms.

                                  RESERVATION OF RIGHTS

       16.     The DIP Lender reserves all rights to challenge the Carve-Out in the event the

Chapter 11 Case is dismissed prior to entry of the Final Order on this Motion or should this Motion

otherwise be denied. The reservation extends broadly to any obligations arising under the DIP

Loan or its associated documentation.

                                                 NOTICE

       17.     Notice of this Motion has been provided to all parties-in-interest including

including: (i) Office of the United States Trustee for the Eastern District of Missouri, (ii) the

holders of the 20 largest unsecured creditors, (iii) Debtor’s secured lenders and agents, and (iv) all

parties that have requested notice in the Chapter 11 Case pursuant to Bankruptcy Rule 2002. In

light of the nature of the relief requested herein, Debtor submits that no other or further notice is

required.

       WHEREFORE Debtor Double Helix Corporation, d/b/a KDHX Community Media,

respectfully prays this Court enter the DIP Orders granting the relief requested herein, and for such

other and further relief as this Court deems just and proper.




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                                     Respectfully submitted,

                                     CARMODY MACDONALD P.C.

                                     By: /s/ Robert E. Eggmann
                                     Robert E. Eggmann #37374MO)
                                     Nathan R. Wallace (#74890MO)
                                     120 S. Central Avenue, Suite 1800
                                     St. Louis, Missouri 63105
                                     (314) 854-8600
                                     (314) 854-8660 – FAX
                                     ree@carmodymacdonald.com
                                     nrw@carmodymacdonald.com

                                     ATTORNEYS FOR DEBTOR




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